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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  EASTERN DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v                                                  )    3:05-CR-234-A
                                                   )    [wo]
                                                   )
TYRONE WHITE                                       )

                                O R D E R ON MOTION

       For good cause, it is

       ORDERED that the United States’ Motion to Disclose Defense Witnesses (Doc. 82, Dec.

1, 2005), is due to be, and is hereby, GRANTED.



       Done this 9th day of December, 2005.

                                              /s/ Delores R. Boyd
                                              DELORES R. BOYD
                                              UNITED STATES MAGISTRATE JUDGE
